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                IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA                )   CR. NO. 20-00068 LEK
                                        )
                    Plaintiff,          )   MOTION FOR EXPEDITED
                                        )   HEARING & RULING
      vs.                               )
                                        )   DATE: August 5, 2022
NICKIE MALI LUM DAVIS                   )   TIME: 1:30 p.m.
                                        )   JUDGE: Leslie E. Kobayashi
                    Defendant.          )
                                        )
                                        )

              MOTION FOR EXPEDITED HEARING & RULING
      The government moves for an expedited hearing and ruling on the

Defendant’s Motion to Disqualify based on the impending expiration of the statute

of limitations for the Defendant’s crimes. From approximately March through

October 2017, the defendant and her co-conspirators engaged in a criminal scheme


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to obtain tens of millions of dollars to wage an illegal back-channel foreign influence

campaign on behalf of Jho Low and the government of the People’s Republic of

China.   Though some additional overt acts occurred after October 2017, the

defendant would likely argue that the statute of limitations for the offense to which

she pleaded guilty, and any related offenses, expires no later than September or

October 2022. No motion to withdraw the defendant’s guilty plea has yet been filed

and the defendant’s claims of government misconduct have been disproven by

record evidence. But the Court has indicated that based on the allegations that

Lowell failed to disclose information to the defendant, the Court may “revisit the

acceptance of Davis’s guilty plea and the Plea Agreement.” ECF No. 65 at 9. Under

the current briefing schedule—without an expedited hearing and ruling—even if the

Court were to deny the Motion for Disqualification but nonetheless decide to reject

the defendant’s plea or plea agreement, the government would face a potential

inability to charge and try the defendant for her extensive criminal conduct because

of the expiration of the statute of limitations. 18 U.S.C. § 3282.

      Briefing on the motion pending before the Court is complete. The hearing on

the defendant’s motion is set for August 5, 2022. ECF No. 74. The defendant is not

entitled to relief, including withdrawal of her guilty plea, because Lowell was not

laboring under any actual conflict of interest; his involvement in the pardon issue

was not raised by the filter team until after plea negotiations were complete in


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principle and the criminal Information had been filed; and the defendant had the

assistance of third-party counsel and waived any conflict.        See Supplemental

Response, ECF No. 66 at 7 (citing United States v. Modafferi, 112 F. Supp. 1192,

1199 (D. Haw. 2000) (“to show prejudice, a defendant must show that there was a

reasonable probability that, but for counsel’s errors, he or she would not have pled

guilty and would have insisted on going to trial” and Cuyler v. Sullivan, 466 U.S.

335, 350 (1980) (“possibility of conflict is insufficient to impugn a criminal

conviction.”))).   Nonetheless, if the Court rejected the defendant’s plea, the

defendant would likely argue that the statute of limitations for her criminal conduct

expires in September or October 2022 and precludes the filing of additional charges.

      Section 3288 of Title 18 of the United States Code provides the government

with six months to indict after dismissal of an Information: “Whenever an indictment

or information charging a felony is dismissed for any reason after the period

prescribed by the applicable statute of limitations has expired, a new indictment may

be returned in the appropriate jurisdiction within six calendar months of the date of

the dismissal of the indictment or information.” 18 U.S.C. § 3288. But the defendant

would likely claim that Section 3288 only allows for the filing of the same charge

that was dismissed and that even the initial Information here was invalid because her

waiver of Indictment was not knowing and voluntary based on the alleged failures

of Lowell to disclose relevant information. In United States v. Marifat, No. CR 2:17-


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0189 WBS, 2018 WL 1806690, at *1 (E.D. Cal. Apr. 17, 2018), after the defendant’s

guilty plea was withdrawn, the defendant was charged by indictment on the same

underlying conduct. Id. In rejecting the defendant’s argument that the indictment

was time barred, the court noted § 3288 “appears intended to cover the very scenario

that has arisen here, where the defendant who was initially charged within the

limitations period has successfully moved for dismissal of the charges against him

after the limitations period has passed.”       Id. at *2 (citing United States v. W.R.

Grace, 504 F.3d 745, 753-54 (9th Cir. 2007)).            The Court also rejected the

defendant’s argument that the new indictment should be dismissed because the

original incomplete plea colloquy rendered the defendant’s waiver of indictment

invalid. See id. at *2, n.3. But absent a ruling sufficiently in advance of the

expiration of the statute of limitations, these claims would undoubtedly be raised by

this defendant.

      There are substantial additional potential charges and conspiracy objects

stemming from the defendant’s conduct in this matter. See, e.g., United States v.

Prakazrel Michel, et al., 1:19-cr-148 (D.D.C.) (charging additional criminal

violations, including an overall conspiracy count that included money laundering,

FARA, and § 951 objects, and substantive charges under 18 U.S.C. § 951 and FARA

arising from the same scheme to which the defendant pleaded guilty). The United

States Attorney’s Office for the District of Hawaii also agreed to forego other


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potential charges as part of the defendant’s plea agreement. There is a pending trial

date of November 4, 2022, in the Michel case. The defendant has denied facts

underlying her plea and ended her cooperation. She sat on fabricated claims of

government misconduct for nearly a year before raising them with the Court. This

matter must be resolved expeditiously to allow the government to prepare for trial

or a potential superseding indictment in the related Michel case, and to ensure that

the defendant can be tried for her extensive criminal conduct if the Court determines

that Lowell made limited disclosures that rendered the defendant’s plea invalid.

      The government seeks an expedited hearing and ruling on the Defendant’s

Motion to Disqualify.

             DATED: June 23, 2022.

Respectfully submitted,

COREY R. AMUNDSON
Chief, Public Integrity Section
United States Department of Justice

/s/ John D. Keller                          /s/ Kenneth M. Sorenson
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                          CERTIFICATE OF SERVICE

       I hereby certify that, on the dates and by the methods of service noted below,
a true and correct copy of the foregoing was served on the following at their last
known addresses:

Served Electronically through CM/ECF:

      William McCorriston, Esq.
      James Bryant, Esq.

Attorneys for Interested Party
NICKIE MALI LUM DAVIS

DATED: June 23, 2022

                                                    John D. Keller
                                                    John D. Keller




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